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                                   UNITED STATES DISTRICT COURT
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11                              NORTHERN DISTRICT OF CALIFORNIA

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     DAVID SUSKI, JAIMEE MARTIN, JONAS
13 CALSBEEK, and THOMAS MAHER,                   Case No. 3:21-cv-04539-SK
     Individually and On Behalf of All Others
14 Similarly Situated,
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                          Plaintiffs,            PLAINTIFFS’ PROPOSED CASE
16                                               SCHEDULE PURSUANT TO THE COURT’S
            vs.                                  SEPTEMBER 12, 2022 CASE
17                                               MANAGEMENT CONFERENCE
     COINBASE, INC. and
18 MARDEN-KANE, INC.,
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                          Defendants.
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 1           Pursuant to the Court’s request during a Case Management Conference on September 12,

 2   2022 (see ECF No. 116), Plaintiffs David Suski, Jaimee Martin, Jonas Calsbeek, and Thomas Maher

 3   respectfully propose the following case schedule to govern the remainder of this action.

 4
     Event                            Current            Plaintiffs’ Proposed Deadline/Date
 5                                    Deadline/Date
     Defendants’ Answers to           10/12/2022         10/12/2022
 6   Plaintiffs’ Third Amended
     Complaint
 7   Defendants’ Responses to    10/12/2022              10/19/2022 - Plaintiffs served this limited
     Plaintiffs’ Outstanding                             discovery months ago, but agreed to defer
 8   Discovery Requests (One Set                         responses until after the Court resolved
     of Document Requests to                             Defendants’ motions to dismiss on August
 9   Marden-Kane, and One Set of                         31, 2022 (ECF No. 114 at 9). Coinbase
     Interrogatories to each                             admitted during the Court’s latest Case
10   Defendant)                                          Management Conference that their
                                                         responses are “due” no later than 30 days
11                                                       from September 12, but Plaintiffs are
                                                         willing to allow until October 19.)
12   L/D to file Plaintiffs’ Motion   10/14/2022         04/28/2023
13   for Class Certification
     L/D to conduct ADR               10/31/2022         05/12/2023
14   L/D to file Defendants’          11/18/2022         05/26/2023
     respective Oppositions to
15   Motion for Class
     Certification
16   L/D to file Plaintiffs’ Reply    12/16/2022         06/16/2023
     Briefs supporting Motion for
17   Class Certification
     Hearing on Motion for Class      1/9/2023           07/10/2023
18   Certification
     Close of Fact Discovery          4/7/2023           10/20/2023
19   Initial Expert Disclosures       4/7/2023           01/12/2024
     Rebuttal Expert Disclosures      5/5/2023           02/28/2024
20   Close of Expert Discovery        6/2/2023           04/04/2024
     L/D to file Summary              8/21/2023          06/07/2024
21   Judgment Motions
     L/D to file Oppositions to       9/5/2023           07/19/2024
22   Summary Judgment Motions
     L/D to file Replies in Support   9/19/2023          08/16/2024
23   of Summary Judgment
     Motions
24   Hearing on Summary               10/16/2023         09/13/2024
25   Judgment Motion(s)
     Pretrial Conference              12/15/2023 at      11/8/2024
26                                    1:30 p.m.          1:30 p.m.
     Trial                            1/16/2024          12/10/2024
27                                    8:30 a.m.          8:30 a.m.

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     PLAINTIFFS’ PROPOSED CASE SCHEDULE
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 1          All of this Court, the Ninth Circuit, and the Supreme Court have declined to stay this case

 2   during Coinbase’s pending Ninth Circuit appeal and Supreme Court petition, respectively.

 3          Nevertheless, in a recent meet and confer, Plaintiffs offered to stipulate to staying this Court’s

 4   proceedings during Coinbase’s pending Ninth Circuit appeal, on the condition that Defendants agree

 5   not to file any future motion to stay related to arbitrability after any affirmance by the Ninth Circuit

 6   of this Court’s arbitrability decisions. Plaintiffs’ goal in making this offer was to ensure that the

 7   Court would not have to address any frivolous, future motions to stay while Coinbase seeks further

 8   appellate review (en banc or Supreme Court review) of the Ninth Circuit’s initial opinion on

 9   arbitrability, which is anticipated in 2023 (following argument on November 18, 2022). Coinbase,

10   however, has insisted on preserving its own “right” to file future, renewed motions to stay, including

11   immediately after the Ninth Circuit affirms this Court’s arbitrability decision, and despite the fact

12   that all three levels of the federal courts have already affirmatively refused to stay this case.

13          It appears to Plaintiffs that Defendants seek to engage in endless appellate proceedings, and

14   to seek a stay of this Court’s proceedings for as long as Defendants can keep any appellate

15   proceedings going. Plaintiffs cannot agree to subject themselves or putative class members to such

16   extreme and unnecessary delays. Thus, Plaintiffs maintain, consistent with the Court’s prior order on

17   Defendants’ motion to stay, that the Court should not stay its own proceedings pending Coinbase’s

18   Ninth Circuit appeal(s) or Supreme Court petition(s). See Order on Motion to Stay (ECF No. 76).

19                                                  Respectfully submitted,
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                                                    FINKELSTEIN & KRINSK LLP
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     Dated: September 19, 2022                      By: ____ /s/ David J. Harris, Jr.______
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25                                                          djh@classactionlaw.com

26                                                  Counsel for Plaintiffs David Suski, Jaimee Martin,
                                                    Jonas Calsbeek, Thomas Maher, and the Putative Class
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     PLAINTIFFS’ PROPOSED CASE SCHEDULE
